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                                                                United States Bankruptcy Court
                                                                        Southern District of Georgia
 In re       Ruthie L Lee                                                                                            Case No.       10-20451
                                                                                          Debtor(s)                  Chapter        13

                                                         AMENDED CHAPTER 13 PLAN AND MOTION
                                                                        [General Order 2005-3 Approved Form]

1.          Debtor(s) shall pay to the Trustee the sum of $                       83.00   for the applicable commitment period of:

                  60 months: or                                                                 (If applicable include the following): These plan payments
                  a minimum of 36 months. § 1325(b)(4).                                         change to $       in month      .

2.          From the payments so received, the Trustee shall make disbursements as follows:

            (a) The Trustee percentage fee as set by the United States Trustee.

            (b) Attorney fees allowed pursuant to § 507(a)(2) of $                        2500.00     to be paid in accordance with applicable General Orders
            of this Court.

            (c) Other § 507 claims, unless provided for otherwise in the plan will be paid in full over the life of the plan as funds become
            available in the order specified by law.

            (d)             Monthly payments according to the contract on the following long-term debts. § 1322(b)(5). (Payments which
                            become due after the filing of the petition but before the month of the first payment designated here will be added
                            to the pre-petition arrearage claim):

                             CREDITOR                                        MONTH OF FIRST TRUSTEE                                 INITIAL MONTHLY
                                                                             PAYMENT                                                        PAYMENT
                             -NONE-

            IN THE ALTERNATIVE:
                    Debtor will make post-petition payments direct to creditor according to the contract on the following long-term
                    debts:

                             CREDITOR                                                                                INITIAL MONTHLY PAYMENT
                             Chase (f/k/a WaMu)                                                                                       June, 2010

            (e) Fully Secured Allowed Claims and Executory Contracts as set forth below:

                             CREDITOR                     COLLATERAL                         ESTIMATED         INTEREST RATE                   MONTHLY
                                                                                                 CLAIM                                         PAYMENT
                             -NONE-

            (f) Undersecured Allowed Claims. Debtor moves to value the collateral partially securing the following claims pursuant to
                §506 and provide payment in satisfaction of those claims as set forth below:

                             CREDITOR                  COLLATERAL                          VALUATION           INTEREST                        MONTHLY
                                                                                                                 RATE                          PAYMENT
                             -NONE-                                                                               %

            (g) Cure payments on allowed prepetition arrearage claims set forth below. § 1322(b)(5):

                             CREDITOR                                                                            ESTIMATED PREPETITION CLAIM
                             Chase (f/k/a WaMu)                                                                                     $50,000.00




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            (h) The following unsecured allowed claims are classified to be paid at 100%                      with interest at   %;    without interest.

                             CREDITOR
                             -NONE-

            (i) Allowed general unsecured claims, including the unsecured portion of any bifurcated claims provided for in ¶2(f) or 6,
                will be paid a 0 % dividend or a prorata share of $ 0.00 , whichever is greater.

3.          Debtor will make § 1326(a)(1) pre-confirmation lease and adequate protection payments on allowed claims of the following
            creditors:          Direct to the Creditor; or          To the Trustee

                               CREDITOR                                                                     ADEQUATE PROTECTION OR LEASE
                                                                                                                        PAYMENT AMOUNT
                               -NONE-

4.          Debtor will pay all post-petition domestic support obligations direct to the holder of such claim identified here. § 101(14A).
            Debtor requests Trustee to provide the statutory notice of § 1302(d) to these claimants.

                                 CREDITOR                                                          ADDRESS
                                 -NONE-

5.          Pursuant to 11 U.S.C. §522(f), debtor moves to avoid the liens of the following creditors, upon confirmation but subject to §
            349, with respect to the property described below:

                                  CREDITOR                                                         PROPERTY
                                  -NONE-

6.          The following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown below:

                                  CREDITOR                                      DESCRIPTION OF                               AMOUNT OF CLAIM
                                                                                COLLATERAL                                         SATISFIED
                                  -NONE-

7.          Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided by § 1325(a)(5).

8.     Other provisions: Chase (f/k/a WaMu)'s arreage claim is CONTINGENT upon Debtor's Mortgage Modification with
Chase.

9.          The amount, and secured or unsecured status, of claims disclosed in this Plan are based upon debtor's best estimate and belief.
            An allowed proof of claim will supersede those estimated claims. Objections to claims may be filed before or after
            confirmation. Debtor will increase payments in the amount necessary to fund allowed claims as this Plan proposes, after
            notice from the Trustee and a hearing if necessary, unless a Plan Modification is approved.


 Date April 6, 2010                                                          Signature   /s/ Ruthie L Lee
                                                                                         Ruthie L Lee
                                                                                         Debtor




Revised 10/2005




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